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                       IN THE UNITED STATES DISTRICT COURT
                        FOR THE EASTERN DISTRICT OF TEXAS
                                MARSHALL DIVISION

 SAINT LAWRENCE COMMUNICATIONS                      §
 LLC,                                               §
                                                    §
                Plaintiff,                          §
                                                    §
 v.                                                 §     CIVIL ACTION NO. 2:16-CV-00082-JRG
                                                    §
 APPLE INC.,                                        §
                                                    §
                Defendant.                          §

                                              ORDER

       Before the Court are a set of Joint Motions in Limine (Dkt. No. 301). Having reviewed the

Motions in Limine (“MILs”), and noting that they have been filed jointly, it is ORDERED that

the following MILs are GRANTED BY AGREEMENT and shall apply equally to both Parties:

       Agreed MIL No. 1: To exclude derogatory, disparaging, and/or pejorative references to

       Saint Lawrence Communications LLC (“LLC”), Apple, Inc. (“Apple”), and their

       business activities.

       Agreed MIL No. 2: To exclude any references, evidence, testimony (including expert

       testimony), arguments regarding, or inquiries attempting to elicit testimony: (i) referring

       negatively or disparagingly to SLC’s (or its parent entities or affiliates) corporate

       structure, including the number of Acacia subsidiaries or the use of pejorative terms such

       as “corporate shells” or “litigation shells” or making implications of any nefarious

       purpose behind SLC’s (or its parent entities or affiliates) corporate structure, SLC’s lack

       of direct employees, or mention the number of SLC’s affiliates or subsidiaries of SLC’s

       parent entities; or (ii) regarding or otherwise suggesting that SLC (or its parent entities,

       affiliates or subsidiaries) is undercapitalized.
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      Agreed MIL No. 3: To exclude references, evidence, testimony, arguments, and inquiries

      attempting to elicit testimony regarding any inter partes review, nullity, ex parte

      reexamination or other post-issuance Patent Office proceeding—whether instituted or not

      instituted and whether concluded or ongoing.

      Agreed MIL No. 4: To exclude references, evidence, testimony, arguments, and inquiries

      attempting to elicit testimony that Apple’s own patents or patent applications are a

      defense to infringement of the asserted patents in this case.

      Agreed MIL No. 5: To exclude references, evidence, testimony, arguments, and inquiries

      attempting to elicit testimony criticizing the Patent Office or its employees, or

      denigrating the patent system.

      Agreed MIL No. 6: To exclude references, evidence, testimony, arguments, and inquiries

      attempting to elicit testimony regarding the fact that any testifying expert in this case had

      testimony or opinions excluded or found to be unreliable in any other lawsuits.

      Agreed MIL No. 7: To exclude references, evidence, testimony, arguments, and inquiries

      attempting to elicit testimony regarding the structure and amount of costs and fees

      incurred by a party with respect to its trial team (including outside counsel, employees of

      counsel, trial consultants, jury consultants, and litigation support services personnel

      retained by the party).

      Agreed MIL No. 8: To exclude references, evidence, testimony, arguments, and inquiries

      attempting to elicit testimony regarding claims, causes of action, counterclaims, and

      defenses brought by SLC or Apple in this lawsuit that have been dismissed, abandoned,

      or withdrawn before trial—including the fact that any such claim, cause of action, claim,

      counterclaim, or defense was asserted previously but has been dismissed, abandoned, or



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      withdrawn.

      Agreed MIL No. 9: To exclude references, evidence, testimony, arguments, and inquiries

      attempting to elicit testimony regarding discovery orders, discovery disputes, objections

      to written discovery requests (e.g., interrogatories, document requests, requests for

      admission), or the sufficiency of any party’s discovery responses, in this or any related

      case.

      Agreed MIL No. 10: To exclude references, evidence, testimony, arguments, and

      inquiries attempting to elicit testimony regarding foreign status or ownership of any

      party, witness, related third party, or supplier of these entities.

      Agreed MIL No. 11: To exclude references to privileged subject matter and/or claims of

      privilege, including testimony, arguments, and inquiries attempting to elicit testimony

      from any witness regarding subjects over which privilege was asserted previously.

      Agreed MIL No. 12: To exclude references, evidence, testimony, arguments, and

      inquiries attempting to elicit testimony regarding a party’s trial team (including outside

      counsel, employees of counsel, trial consultants, jury consultants, and litigation support

      services personnel retained by the party).

      Agreed MIL No. 13: To exclude references, evidence, testimony, arguments, and

      inquiries attempting to elicit testimony regarding mock juries, jury consultants, focus

      groups, or other work product communications that the parties may have conducted to

      evaluate this or other cases involving the Asserted Patents.

      Agreed MIL No. 14: To exclude references, evidence, testimony, arguments, and

      inquiries attempting to elicit testimony regarding any alleged “litigation abuse” by a party

      in other litigation—whether U.S. or foreign.



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      Agreed MIL No. 15: To exclude references, evidence, testimony, arguments, and

      inquiries attempting to elicit testimony regarding any Apple or SLC employee’s or other

      fact witness’s income, employment benefits, immigration status, nationality, ethnic

      origin, sexual orientation, religion, political affiliation, travel methods, wealth, taxes, and

      personal property (e.g., home value, cars).

      Agreed MIL No. 16: To exclude references, evidence, testimony, arguments, and

      inquiries attempting to elicit testimony regarding political positions taken by Apple or its

      leadership.

      Agreed MIL No. 17: To exclude references, evidence, testimony, arguments, and

      inquiries attempting to elicit testimony regarding (i) statements by and/or videos from

      Steve Jobs; (ii) media reports unrelated to this litigation and media speculation about

      Apple; (iii) whether Apple “steals” ideas, intellectual property, or other things; and (iv)

      whether Apple respects the intellectual property rights of any non-party.

      Agreed MIL No. 18: To exclude references, evidence, testimony, arguments, and

      inquiries attempting to elicit testimony regarding Apple’s lack of developing patents

      relating to AMR-WB, including drawing any negative inference regarding the same.

      Agreed MIL No. 19: To exclude references, evidence, testimony, arguments, and

      inquiries attempting to elicit testimony regarding redactions on any document produced

      (by a party or third party) in this litigation, including drawing any negative inference

      regarding the same or incorrect implication of who made the redactions.

      Agreed MIL No. 20: To exclude references, evidence, testimony, arguments, and

      inquiries attempting to elicit testimony that a patent license suggests that the patent is

      valid and/or infringed.



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        SIGNED this 19th day of December, 2011.
       So ORDERED and SIGNED this 4th day of January, 2018.




                                                ____________________________________
                                                RODNEY GILSTRAP
                                                UNITED STATES DISTRICT JUDGE




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